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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA et al.,

                     Plaintiffs,

   v.                                                Case No. 1:21-cv-11558-LTS

 AMERICAN AIRLINES GROUP INC. and
 JETBLUE AIRWAYS CORPORATION,

                     Defendants.



                           JOINT PROPOSED PRETRIAL ORDER

        Plaintiff United States of America, and the State of Arizona, State of California, District

of Columbia, State of Florida, Commonwealth of Massachusetts, Commonwealth of

Pennsylvania, and Commonwealth of Virginia (“States”) (collectively, “Plaintiffs”), and

American Airlines Group Inc. and JetBlue Airways Corp. (collectively, “Defendants”), hereby

submit this Joint Proposed Pretrial Order pursuant to Federal Rule of Civil Procedure 26(a)(3),

Local Rule 16.5 of the United States District Court for the District of Massachusetts, and the

Court’s Scheduling and Case Management Order (ECF No. 76). A final pretrial conference is

scheduled in this matter on September 19, 2022 at 3:30 p.m. Trial of this matter is scheduled to

begin on September 27, 2022.


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I.     Summary of Evidence

       A.      Nature of the Case

       1.      The parties respectfully refer the Court to their respective Pretrial Briefs.

II.    Facts

       A.      Uncontested Facts

       2.      The parties’ joint statement of uncontested facts is attached as Exhibit A.

       B.      Contested Facts

       3.      The parties respectfully refer the Court to their respective Pretrial Briefs.

III.   Jurisdiction

       4.      This is an action for injunctive relief under Section 1 of the Sherman Act,

15 U.S.C. § 1. The jurisdiction of the Court is not disputed and is based on Section 4 of the

Sherman Act, 15 U.S.C. § 4. Personal jurisdiction is not disputed by any Defendant. Venue is

proper under Section 12 of the Clayton Act, 15 U.S.C. § 22, and is not disputed.

IV.    Pretrial Motions

       A.      Plaintiffs’ Motion(s)

       5.      Plaintiffs have filed the following pretrial motions currently pending:

               •    Motion in Limine To Exclude Testimony of Defendants’ Expert Ron DiLeo
                    (ECF No. 140); and

               •    Motion in Limine To Exclude Evidence of Defendants’ Alleged Carve-Out
                    Routes (ECF No. 144).

       B.      Defendants’ Motion(s)

       6.      Defendants have filed the following pretrial motion currently pending:

               •    Motion in Limine and Daubert Motion Concerning Plaintiffs’ Expert’s
                    Merger Simulation Model (ECF No. 141).




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V.     Issues of Law

       7.      The parties respectfully refer the Court to their respective Pretrial Briefs.

VI.    Amendments to Pleadings

       8.      No party is currently seeking to amend its pleadings.

VII.   Trial

       A.      Trial Schedule

       9.      Consistent with the Court’s Order entered on August 23, 2022 (ECF No. 131), a

bench trial in the above-entitled action will commence on Tuesday, September 27, 2022 and

conclude on October 17, 2022, following the daily schedule provided by the Court. The total

trial time is approximately 67.5 hours.

       B.      Allocation of Trial Time

       Plaintiffs’ Proposal for Paragraph 10

       10.     Plaintiffs will be allotted a total of 37 hours (55% of the total trial time) for

their case-in-chief, all cross-examinations, and any rebuttal case, and Defendants will be allotted

a total of 30.5 hours (approximately 45% of the total trial time) for their case-in-chief and all

cross-examination. The parties will be responsible for keeping time and determining the number

of hours used each day.

       Plaintiffs’ Rationale

       Plaintiffs respectfully request the Court to split the trial time allocated to the parties such

that Plaintiffs receive 55% of total trial time and Defendants receive 45% of total trial time.

Plaintiffs bear the burden of persuasion and will need to prove much of their case through

adverse and hostile witnesses—namely, Defendants’ employees, who may be less forthcoming

during Plaintiffs’ examinations than during Defendants’ examinations. Of the twenty witnesses



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who could testify for Plaintiffs, fourteen are employed by American and JetBlue. These

witnesses are unlikely to be cooperative and such a posture often requires additional time at trial

to develop evidence for the Court. On the other hand, all but four of Defendants’ witnesses are

their own employees or experts—individuals they have unfettered access to and can extensively

prepare prior to trial. In addition, Plaintiffs are entitled to present a rebuttal case, whereas

Defendants have only their case-in-chief to present. Permitting Plaintiffs to have greater than

50% share of total trial time is not uncommon in antitrust trials. For example, Plaintiffs were

either allotted or reached agreement for over 50% of total trial time in United States v. Aetna,

No. 16-1494 (D.D.C. Oct. 31, 2016), ECF No. 167 (55.6% of total trial time) and United States

v. Bertelsmann, No. 21-02886 (D.D.C. July 15, 2022), ECF No. 119 (52.7% of total trial time).

        Defendants’ Proposal for Paragraph 10

        10.     Plaintiffs will be allotted a total of 50% (currently anticipated to be

approximately 33.75 hours) of the total trial time for their case-in-chief, all cross-examinations,

and any rebuttal case, and Defendants will be allotted a total of 50% (currently anticipated to

be approximately 33.75 hours) of the total trial time for their case-in-chief and all cross-

examination. The parties will be responsible for keeping time and determining the number of

hours used each day.

        Defendants’ Rationale

        Defendants propose that the parties split trial time evenly, i.e., Plaintiffs are allotted 50%

of the trial time and Defendants are allotted 50% of the trial time. That is the norm,

notwithstanding that every plaintiff has the advantage of putting on a rebuttal case. Deus v.

Allstate Ins. Co., 15 F.3d 506, 520 (5th Cir. 1994) (giving each side three days); Tersigni v.

Wyeth-Ayerst Pharm., Inc., No. 11-10466-RGS, 2014 WL 793983, at *2 (D. Mass. Feb. 28,



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2014) (allotting eighteen hours per side); Latino Officers Ass’n v. City of New York, No. 99 Civ.

9568, 2003 WL 22300158, at *5 (S.D.N.Y. Oct. 8, 2003) (“Fairness dictates that defendants be

given equal time.”). A 50/50 split of time was recently accepted by the court in U.S. v. U.S.

Sugar Corp., No. 21-1644 (D. Del.), a DOJ merger challenge. There is no good reason for

Plaintiffs to receive more trial time than Defendants. Defendants need to have an opportunity to

respond to everything Plaintiffs present, to cross-examine Plaintiffs’ witnesses, and to present

their own evidence. That is typically more difficult and more time-consuming that laying down

a prima facie case. Plaintiffs can do what every other plaintiff does and reserve time for

rebuttal. That is not burdensome; it is routine.

        11.     Each side may give an opening statement. Opening statements will be deducted

from each side’s total allotted trial time. The parties request that the Court determine a date for

closing arguments at the Court’s discretion. Closing arguments are not included as part of each

side’s trial time.

        C.      COVID-19 Protocols

        12.     The parties will cooperate in good faith to ensure that the trial is conducted in a

manner that protects the health and safety of all participants in light of the ongoing COVID-19

pandemic. Each party will ensure that all individuals associated with that party, including

counsel, paralegals, support staff, and witnesses, who attend the trial in person abide by the

Court’s General Order 22-1 in re: Coronavirus Public Emergency, as well as any subsequent or

superseding orders.

        13.     The parties strongly prefer that witnesses called to testify live appear in-person at

the courthouse and not remotely. If a witness who is scheduled to testify is unable to appear in-

person at the appointed date and time due to one of the reasons listed in paragraph 4 of General



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Order 22-1, the parties will in good faith cooperate to reschedule the witness’s testimony for a

date and time during trial when the witness can appear in-person. If it is not possible to

reschedule the witness’s testimony for a date and time during trial when the witness can appear

in-person, the parties shall immediately notify the Court and shall arrange for the witness to

testify remotely via videoconferencing.

         D.       Post-Trial Briefing Schedule

         14.      Consistent with the Court’s Scheduling and Case Management Order entered on

November 29, 2021 (ECF No. 76), the parties shall file post-trial briefs, proposed findings of

fact, and proposed conclusions of law three weeks from the close of evidence.

         15.      One week after the submission of post-trial briefs, proposed findings of fact, and

proposed conclusions of law, each party shall submit to the Court two flash drives that contain

electronic versions of their post-trial briefs, proposed findings of fact, and proposed conclusions

of law that include hyperlinks to the evidence cited.

VIII. Witnesses

         A.       List of Witnesses Plaintiffs May Call

                  1.     Expert Witnesses

         16.      Plaintiffs intend to call Dr. Robert Town and Dr. Nathan Miller for expert

testimony regarding their economic analyses, including the impact on competition in the relevant

markets, of the Northeast Alliance.

         17.      Dr. Town and Dr. Miller are expected to testify live.

                  2.     Non-Expert Witnesses

         18.      Plaintiffs have identified the following fact witnesses as individuals likely to

testify live at trial.



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                      1.    Mitch Goodman, American Airlines

                      2.    Robert Isom, American Airlines

                      3.    Scott Laurence, American Airlines

                      4.    Jordan Pack, American Airlines

                      5.    Douglas Parker, American Airlines

                      6.    Vasu Raja, American Airlines

                      7.    Paul Swartz, American Airlines

                      8.    Dave Clark, JetBlue

                      9.    David Fintzen, JetBlue

                      10.   Eric Friedman, JetBlue

                      11.   Evan Jarashow, JetBlue

                      12.   Robin Hayes, JetBlue

                      13.   Robert Land, JetBlue

                      14.   Barry McMenamin, JetBlue

                      15.   John Pepper, Allegiant Travel Company

                      16.   Jerome Bristow, General Services Administration

                      17.   Andrew Watterson, Southwest Airlines Co.

                      18.   John Kirby, Spirit Airlines

       B.     List of Witnesses Defendants May Call

              1.      Expert Witnesses

       19.    Defendants intend to call Drs. Jan Brueckner, Dennis Carlton, Mark Israel and

Darin Lee, all of whom are economists, for expert testimony regarding their economic analyses

of the NEA and its competitive effects. Defendants will also call Mr. Ron DiLeo as an industry



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expert in airline market dynamics as they relate to corporate travel.

         20.     Defendants’ expert witnesses are expected to testify live.

                 2.      Non-Expert Witnesses

         21.     Defendants have identified the following fact witnesses as individuals likely to

testify live at trial:

                         1. Jim Carter, American

                         2. Robert Isom, American

                         3. Vasu Raja, American

                         4. Chad Schweinzger, American

                         5. Brian Znotins, American

                         6. Scott Laurence, American/JetBlue

                         7. David Clark, JetBlue

                         8. Eric Friedman, JetBlue

                         9. Robin Hayes, JetBlue

                         10. Rob Land, JetBlue

                         11. Joe Esposito, Delta

                         12. Andrew Harrison, Alaska

                         13. Glen Hauenstein, Delta

                         14. Mark Weithofer, United

         C.      Identifying Witnesses and Order of Presentation

         22.     Any witness not listed in sub-sections A or B above will be precluded from

testifying live at trial, unless such witness is used solely for impeachment, or for good cause

shown.

         23.     No later than 9:00 p.m. on September 20, 2022, Plaintiffs shall identify the list


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and expected order of witnesses they intend to call at trial. No later than 1:00 p.m. on October 1,

2022, Defendants shall identify the list and expected order of witnesses they intend to call at

trial.

         24.    Unless otherwise agreed to by the parties during trial, starting on September 25,

2022, and thereafter two calendar days before each day of trial, Plaintiffs and Defendants shall

provide by no later than 6:00 p.m. the list and order of witnesses to be presented each day of

trial.

         Plaintiffs’ Proposal for Paragraph 25

         25.    Fact witnesses shall remain outside the courtroom unless testifying, until such

time as they are excused. Fact witnesses cannot discuss the substance of their testimony with

counsel after having been sworn in until they are excused. Expert witnesses cannot discuss

the substance of their testimony while under cross-examination.

         Plaintiffs’ Rationale

         Plaintiffs request that the Court enter an order preventing counsel for any party from

discussing the substance of a fact witness’s testimony with the witness after the witness is sworn

in until the witness is excused. Plaintiffs’ proposal simply extends the basic notion that a witness

should not receive instruction about the substance of their testimony while their examination is

ongoing and that the testimony is the witness’s own. Defendants’ proposal, on the other hand,

may invite gamesmanship as to the timing of examinations if it becomes beneficial to confer

with a witness prior to or during their non-adverse cross-examination. Defendants will receive,

and for some witnesses have already received, advance notice of when Plaintiffs plan to call

Defendants’ employees to testify and thus can adequately prepare their witnesses well before the

witness takes the stand. Given that a majority of Plaintiffs’ and Defendants’ witnesses are



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Defendants’ employees or experts, defense counsel will have ample opportunity to confer with

the witnesses before they testify. Plaintiffs’ proposal does not prohibit American and JetBlue

witnesses from all communication with counsel but rather forbids consultation with counsel only

on the substance of their testimony while under oath.

       Defendants’ Proposal for Paragraph 25

       25.     Fact witnesses shall remain outside the courtroom unless testifying, until such

time as they are excused. Fact witnesses cannot discuss the substance of their testimony with

counsel after having been sworn in until they are excused except in a situation where the

direct or redirect falls across different court days. In that situation, the witness can discuss

the substance of the testimony with counsel during the period when court is not in session.

No witnesses (fact or expert) can discuss the substance of their testimony while under cross-

examination.

       Defendants’ Rationale

       This Court has full discretion to govern the conduct of witnesses and determine if and

when witnesses may consult with their counsel during trial. In this case, the parties agree that

witnesses should not be able to consult with counsel about the substance of their testimony

during breaks in cross examination that occur while Court is in session. However, there is no

basis for Plaintiffs’ proposal to bar fact witnesses from consulting with their counsel about the

substance of testimony should an overnight recess occur during direct testimony. Most courts

permit that, reasoning that it is not materially different from the work that counsel always does to

prepare witnesses for direct examination prior to the time that the witness is called at

trial. Plaintiffs agree that the parties can consult with expert witnesses about the substance of

their testimony during all breaks in direct testimony. And notably, and only Defendants have



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party fact witnesses—those who would be most affected by this proposed sequestration rule. So

Plaintiffs want the benefit of a one-sided and unnecessary sequestration principle. Allowing

consultation during overnight or weekend breaks is not just common, but efficient, as it allows

counsel and the witness to work to cut and refine trial testimony, which is especially important in

a case that has time limits.

        26.     With the exception of any witness called solely in Plaintiffs’ rebuttal case, for the

convenience of party and non-party witnesses, and for efficiency, any witness who is testifying

live and called by both sides will only testify once and will be questioned by both sides at that

time. A party conducting a non-adverse cross-examination will be permitted to go beyond the

scope of the direct examination for witnesses on that party’s final witness list.

        D.      Testimony by Deposition

        27.     The parties may offer into evidence the deposition testimony in Exhibit B which

identifies each side’s opening designations, counter-designations, counter-counter designations

and corresponding objections (subject to any ruling from the Court as to any objection). A party

may use any and all deposition testimony, whether or not designated, for cross-examination,

impeachment, or rebuttal purposes. To the extent any deposition designations include objections

or colloquy of counsel, a party may remove those objections or colloquy before submission to

the Court.

        28.     The parties may also offer into evidence deposition testimony of any witness on

either side’s final witness list if neither side will be calling the witness to testify live at trial. This

shall include, but is not limited to, scenarios when a witness becomes unavailable to testify live

or remotely, including pursuant to the provisions of Paragraphs 12 and 13. To the extent that a

Party does not include a witness from the final witness list on the Order of Witnesses pursuant to



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Paragraph 23, the party that then seeks to offer deposition testimony of that witness must provide

the opposing side with affirmative deposition designations for the witness by 6:00 p.m. three

calendar days after submission of the Order of Witnesses. By 6:00 p.m. two calendar days later,

the opposing side shall provide any counter-designations and any objections to the deposition

designations sought to be admitted. The party seeking to admit deposition designations shall

provide any counter-counter designations and any objections to counter-designations by 6:00

p.m. the following day. The parties shall meet and confer that evening to resolve any disputes.

In other situations, the party that seeks to offer deposition testimony must provide the opposing

side with affirmative deposition designations for the witness by 6:00 p.m. three calendar days

before the witness was expected to testify live at trial. By 6:00 p.m. the next calendar day, the

opposing side shall provide any counter-designations and any objections to the deposition

designations sought to be admitted. The party seeking to admit deposition designations shall

provide any counter-counter designations and any objections to counter-designations by 6:00

p.m. the following day. The parties shall meet and confer that evening to resolve any disputes.

       29.     To the extent that a party does not call a witness that is listed on its final witness

list and does not intend to offer deposition testimony from that witness pursuant to Paragraph 28,

the opposing side may offer into evidence deposition testimony for that witness. If the parties

have not previously exchanged affirmative designations, counter-designations, and objections for

that witness, the parties shall meet and confer as soon as practicable upon learning that the

witness will not be called live to agree upon a schedule for exchanging such designations and

resolving any disputes before the end of trial.

       30.     The parties may offer deposition designations into evidence without reading or

playing testimony during trial. A party may, however, choose to play certain of its affirmative



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deposition designations at trial. In that situation, the party must provide the opposing side with

the deposition designations the party intends to play at trial by 6:00 p.m. three calendar days

prior to introducing the video at trial. By 6:00 p.m. the next calendar day the opposing side shall

identify any counter-designations and any objections to the deposition designations identified by

the party seeking to play the video. The party seeking to play video shall identify any counter-

counter designations and any objections to counter-designations by 6:00 p.m. the following day.

The parties shall meet and confer that evening to resolve any objections to the testimony sought

to be played at trial. The party playing deposition testimony at trial shall prepare the final media

file containing the full compilation of testimony to play in court, including affirmative

designations, the opposing party’s counter-designations, and any counter-counter designations.

The compilation shall be in chronological order. The party choosing to play deposition

testimony at trial shall have the total time of the video deducted from that party’s trial time,

including all affirmative designations, counter-designations, and counter-counter designations.

       31.     The parties will meet and confer on the process for submitting to the Court

transcripts of the designated deposition testimony and any unresolved objections. Should any

party wish the Court to review deposition designations in advance of any live testimony, the

party shall notify the Court of the specific deposition designations it recommends the Court

review in advance of a particular witness’s testimony.

IX.    Exhibits

       A.      Exhibit Lists

       32.     Exhibit C is Plaintiffs’ list of trial exhibits, identified with PX, and containing any

objections to those exhibits. Exhibit D is Defendants’ list of trial exhibits, identified with DX,

and containing any objections to those exhibits.



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       33.     Exhibits to be used or offered into evidence solely for impeachment need not be

included on the list of trial exhibits or disclosed in advance of being used or offered at trial.

       34.     Subject to the remaining provisions of this Pretrial Order or agreement of the

parties, exhibits not listed will not be admitted or shown at trial unless good cause is shown or

agreed to by the parties.

       35.     The parties submit with this Proposed Order all remaining objections to trial

exhibits. For any exhibits not objected to, the party sponsoring those exhibits may move the

Court for admission of those exhibits prior to Opening Statements on the morning of September

27, 2022 without need of any supporting witness. The exhibits included in any such motion must

be listed by exhibit number. The Court will resolve any outstanding objections to exhibits at the

time that a party seeks to use that exhibit with a witness (either live or by deposition).

       36.     The listing of a document on a party’s exhibit list is not an admission that such

document is relevant or admissible for all purposes. Each party reserves the right to object to the

propriety of any evidence under the Federal Rules of Evidence at the time such evidence is used

at trial in view of the specific context in which such evidence is used.

       37.     Each party reserves the right to use exhibits listed on the other side’s trial exhibit

list. Any exhibit, once admitted, may be used equally by any party for any proper purpose in

accordance with the Federal Rules of Evidence.

       38.     Consistent with the Court’s Order Governing Discovery of Electronically Stored

Information (ECF No. 101), exhibits that are documents created by a party or non-party and

produced by that party or non-party from its own files will be presumed to be authentic within

the meaning of Federal Rule of Evidence 901 unless a party can make a good faith objection to

the exhibit’s authenticity. Further, and also consistent with the Court’s Order Governing



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Discovery of Electronically Stored Information (ECF No. 101), exhibits that are documents

produced by parties and non-parties from their own files will be presumed to be business records

within the meaning of Federal Rule of Evidence 803(6).

       39.     Complete legible copies of documents may be offered and received in evidence to

the same extent as an original unless a genuine question is raised as to the authenticity of the

original, or in the circumstances it would be unfair to admit the copy in lieu of the original.

       40.     By 6:00 p.m. on September 23, 2022, the parties shall provide each other and the

Court with electronic copies of all pre-marked non-demonstrative final trial exhibits in

searchable (OCR) PDF file format.

       B.      Demonstrative Exhibits

       41.     The parties will provide color representations of any demonstrative exhibits and

FRE 1006 summary exhibits to be used in connection with the examination of a witness at trial

to the other side’s counsel of record no later than 9:00 a.m. one calendar day before any such

exhibit may be introduced or otherwise used at trial, except that demonstrative and FRE 1006

summary exhibits to be introduced (or otherwise used) in connection with the rebuttal testimony

of an expert witness for Plaintiffs do not need to be provided one calendar day before such

exhibits may be introduced (or otherwise used) if such rebuttal testimony begins sooner than two

calendar days after Defendants rest their case. Any objections to demonstrative and FRE 1006

summary exhibits shall be made by 6:00 p.m. that same day, and the parties shall promptly meet

and confer regarding any objections that same evening. If any of the demonstratives or FRE

1006 summaries change after the deadline, the party intending to use the exhibit will promptly

notify the opposing side of the change(s). Any remaining disputes as to demonstrative or FRE

1006 summary exhibits shall be raised with the Court as appropriate before trial resumes on the



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day of their anticipated use.

       Plaintiffs’ Proposal for Paragraph 42

       42.     A party need not pre-disclose demonstrative and FRE 1006 summary exhibits that

will be (i) used during opening statements or closing arguments; (ii) used by an expert and were

disclosed in any expert’s report, if the exhibit has not been materially changed; (iii) used at any

hearing other than trial; and (iv) created in court during a witness’s examination.

Demonstrative and FRE 1006 summary exhibits representing data must rely only on data

that has been produced to the opposing party by the close of expert discovery.

       Plaintiffs’ Rationale

       Plaintiffs request that the Court include a provision in Paragraph 42 that prevents a party

from using demonstratives and FRE 1006 summary exhibits that represent data which was not

produced to the opposing party. Plaintiffs’ requested language would ensure each party has

access to the same information used at trial, which prevents unnecessary surprise and leads to a

better presentation of evidence at trial. Further, a condition precedent to the admission of an

FRE 1006 summary is that the originals or duplicates of underlying material must be made

available for examination by other parties at a reasonable time and place. See, e.g., Fed. R. Evid.

1006; 6 J. Weinstein & M. Berger, Weinstein’s Federal Evidence § 1006.06 (2021). Defendants,

however, seek to conduct trial by ambush. Under Defendants’ proposal, Defendants could

present demonstratives or summary exhibits of data for the first time at trial without giving

Plaintiffs any meaningful opportunity to analyze such data in advance. During the parties’

discussions of this paragraph, Defendants made clear that under their proposal they would be

able to present, for the first time at trial, demonstratives or summary exhibits based not only on

publicly available data but on proprietary data that Defendants control and to which Plaintiffs



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have no access. This situation is exactly the reason the parties expended tremendous resources

during discovery—so neither side would be confronted with evidence for the first time at trial

without an opportunity to explore that evidence in advance.

       Defendants’ Proposal for Paragraph 42

       42.     A party need not pre-disclose demonstrative and FRE 1006 summary exhibits that

will be (i) used during opening statements or closing arguments; (ii) used by an expert and were

disclosed in any expert’s report, if the exhibit has not been materially changed; (iii) used at any

hearing other than trial; and (iv) created in court during a witness’s examination.

       Defendants’ Rationale

       Plaintiffs advance an innocuous sounding proposal that “Demonstrative and FRE 1006

summary exhibits representing data must rely only on data that has been produced to the

opposing party by the close of expert discovery.” It is not innocuous at all, but yet another

attempt to prevent the Court from considering the full impact and benefits of the NEA. At trial,

only Defendants will put on evidence of the NEA’s actual competitive effects. Plaintiffs assess

the NEA solely through a “prospective” lens, even though the NEA is being implemented,

growing and benefitting customers every day. Defendants have produced significant data

regarding the NEA to the Plaintiffs during this case, including in the initial fact discovery period,

expert discovery and through productions made in connection with the Defendants’ exhibit

list. However, the fact is that new data becomes available all the time, for example new quarters

of the public fare and output data upon which most economic analysis relies, and new financial

results for the NEA. The new data are particularly important because Plaintiffs argue that older

data is tainted by the effects of the Covid-19 pandemic on the airline industry. Moreover, there

is no good reason to preclude the parties from using demonstratives based on publicly available



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or judicially noticeable data merely because the underlying public data happens to post-date the

close of discovery. Under FRE 201, the Court can consider judicially noticeable facts “at any

stage of the proceeding,” regardless of whether the facts arose before or after discovery

closed. Defendants have the right to present the best, most recent data so that Court can consider

the full record. There is no reason to freeze the NEA in time on August 25, when expert

discovery closed.

       43.     Demonstratives and FRE 1006 summary exhibits that the parties intend to use at

trial need not be included on their respective lists of trial exhibits and the notice provisions of

Paragraph 41 shall not apply to the enlargement, highlighting, ballooning, or excerpting of trial

exhibits or testimony.

       44.     The party seeking to use a demonstrative or FRE 1006 summary exhibit will

provide a color representation of the demonstrative to the other side in (OCR) PDF form.

However, for demonstratives or FRE 1006 summary exhibits with video or animations, the party

seeking to use the demonstrative or FRE 1006 summary exhibit will provide it to the other side

via electronic mail in native format. For irregularly sized physical exhibits, the party seeking to

use the demonstrative will provide a color representation as a (OCR) PDF of 8.5 x 11 copies of

the exhibits to the extent possible.

X.     Confidentiality Procedures

       45.     Any remaining disputes regarding proposed redactions of non-party or party

documents and confidentiality designations of non-party or party deposition testimony shall be

addressed at the final pretrial conference on September 19, 2022.

       46.     The parties agree to work cooperatively with non-parties that wish to keep

Confidential Information under seal or redacted at trial. If any non-party believes that any



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Confidential Information should be sealed or redacted for use at trial, the non-party may file a

Motion to Seal Confidential Information with the Court no later than September 19, 2022

regarding any such request, which the Court will address before the non-party’s Confidential

Information is used at trial.

        47.     Counsel for the parties shall prepare their examinations mindful of Confidential

Information and the need to keep an open courtroom as much as possible. In examining or cross-

examining witnesses on information that has been redacted or sealed by a party or non-party,

counsel shall conduct their examinations in a manner that does not require closing the courtroom

by referencing the pertinent Confidential Information contained in the redacted or sealed

documents or demonstratives in a way that does not publicly reveal the Confidential Information

during the examination or cross-examination. If it is impossible to conduct an examination in

this manner, the parties will advise the Court and permit the party or non-party whose

Confidential Information is at issue an opportunity to move the Court to close the courtroom

during the use of Confidential Information. In a closed courtroom session, the only individuals

that should be present aside from Court personnel are counsel for Plaintiffs, outside counsel for

Defendants, the witness, and any in-house counsel for the party or non-party whose Confidential

Information is implicated by the witness’s testimony; all others shall be excluded.

XI.     Positions on Remaining Objections

        48.     Plaintiffs submit Exhibit E with positions on remaining objections as to certain

categories of exhibits. Defendants submit Exhibit F with positions on remaining objections as to

certain categories of exhibits.

XII.    Settlement

        49.     The parties do not believe the controversy can be resolved by settlement.



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IT IS HEREBY ORDERED that this Pretrial Order shall control the subsequent course of

action, unless modified by the Court to prevent manifest injustice.

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SO ORDERED this __ day of September 2022.

                                      ____________________________
                                      The Honorable Leo T. Sorokin
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